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June 17, 2024


Hon. Vince Chhabria
United States District Court, Northern District of California
450 Golden Gate Ave.,
San Francisco, CA 94102

RE:    In re Roundup Products Liability Litigation, Case No. 3:16-md-02741-VC
       Beaers Jr. V. Monsanto Co., Case No. 20-cv-08799-VC
       Gonzalez v. Monsanto Co., Case No. 20-cv-06198-VC
       Rolish v. Monsanto Co., Case No. 20-cv-01421-VC

Dear Honorable Judge Chhabria:

Our office represents Gonzalez vs. Monsanto and I just found out that a motion to exclude Expert
witnesses for above referenced case was filed by the Defendant’s counsel and the motion shows the date
of hearing to be March 1, 2024. On May 17, 2024 the Court made a ruling and ordered the Plaintiffs file
a letter with the Court regarding the ruling of the Court as to dismiss the expert witness.

Per the Court’s ruling parties were given Seven (7) days to file a letter to state whether, in light of the
court’s ruling, the court should file a suggestion of remand or enter summary judgment for Monsanto
based on the absence of expert testimony on specific causation.

I was not aware of this motion, nor was I served with the copy of the motion, and I was not aware of the
hearing of this motion and as such, I did not file any opposition to the motion nor filed the letter as stated
in the Court’s ruling. The reason for finding this motion now is our paralegal in our office was reviewing
the Court’s dockets and found out about this motion. In the event that notice was sent and any failure by
our office to act properly would be due to an inadvertent mistake and I sincerely apologize to this
Honorable Court.

Upon discovering this matter, today, I called the counsel for Monsanto, Mr. Jed White and left a voice
message then followed it up with an e/mail requesting him to call so to discuss this matter.

I respectfully requested that this Honorable Court allow our office to file the letter as ordered by your
honor.


Sincerely,


Majid Safaie,
Attorney for Plaintiff
Benito O. Gonzalez
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